USCA4 Appeal: 24-1342    Doc: 28       Filed: 08/08/2024    Pg: 1 of 32




                                     RECORD NO. 24-1342

                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT

           RE CARROLL MANAGEMENT COMPANY, CIP CONSTRUCTION
         COMPANY, CARROLL INDUSTRIAL DEVELOPMENT US, LLC, ALARIS
         HOMES, INC., SNAP PUBLICATIONS, LLC, and CARROLL INVESTMENT
                               PROPERTIES, INC.,

                                                           Plaintiffs-Appellants,
                                               v.

                                   DUN & BRADSTREET, INC.,

                                                           Defendant-Appellee,



               APPEAL FROM THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

                        REPLY BRIEF OF PLAINTIFFS-APPELLANTS



                                              Eric M. David
                                              Andrew L. Rodenbough
                                              Pearson G. Cost
                                              BROOKS, PIERCE, MCLENDON,
                                              HUMPHREY & LEONARD, L.L.P.
                                              Post Office Box 1800
                                              Raleigh, North Carolina 27602
                                              Telephone: (919) 839-0300
                                              Attorneys for Plaintiffs-Appellants
USCA4 Appeal: 24-1342             Doc: 28               Filed: 08/08/2024              Pg: 2 of 32




                                                      TABLE OF CONTENTS

        TABLE OF AUTHORITIES ............................................................................................ iii

        ARGUMENT ................................................................................................................. 1

        I.       D&B addresses a strawman argument by relying on inapposite and
                 unpersuasive cases ........................................................................................... 3

        II.      D&B’s attempts to distinguish Milkovich and Desmond fail .......................... 6

        III.     D&B’s flawed interpretation of its statements regarding lawsuits, a
                 judgment, and UCC filings demonstrates the Proposed Amended
                 Complaint’s sufficiency ................................................................................... 8

                  A.       The Credit Reports should be considered from the perspective
                           of a regular reader, not a judge or lawyer ............................................. 8

                  B.       A reasonable reader would understand “pending” to mean
                           currently pending and “unsatisfied” to mean currently
                           unsatisfied .............................................................................................. 9

                  C.       D&B’s false statements are material ................................................... 13

         IV. The Carroll Companies plausibly allege false implied assertions of
             fact ................................................................................................................. 14

                  A.       The Proposed Amended Complaint plausibly alleges implied
                           facts, which makes the Credit Reports actionable “mixed
                           opinions” ............................................................................................. 15

                  B.       The Proposed Amended Complaint plausibly alleges the falsity
                           of these implied facts........................................................................... 17

                  C.       D&B’s false statements and implications about UCC filings are
                           actionable “mixed opinions” ............................................................... 19

        V.       The Carroll Companies plausibly allege that D&B misrepresents the
                 existence of supporting facts ......................................................................... 20

        VI.      The Proposed Amended Complaint sufficiently alleges injury for
                 unfair and deceptive trade practices .............................................................. 21


                                                                      i
USCA4 Appeal: 24-1342             Doc: 28              Filed: 08/08/2024             Pg: 3 of 32




        CONCLUSION ............................................................................................................. 25

        CERTIFICATE OF COMPLIANCE .................................................................................. 27




                                                                    ii
USCA4 Appeal: 24-1342           Doc: 28             Filed: 08/08/2024           Pg: 4 of 32




                                                TABLE OF AUTHORITIES

        Cases

        Aviation Charter, Inc. v. Aviation Rsch. Grp./US,
            416 F.3d 864 (8th Cir. 2005) ......................................................... 3, 4, 5, 19, 20

        Biospherics, Inc. v. Forbes, Inc.,
            151 F.3d 180 (4th Cir. 1998) ..............................................................................5

        Bell v. Simmons,
             247 N.C. 488 (1958).........................................................................................11

        Celle v. Filipino Reptr. Enters. Inc.,
             209 F.3d 163 (2d Cir. 2000) ...............................................................................9

        Compuware Corp. v. Moody’s Inv’rs Servs., Inc.,
           273 F. Supp. 2d 914 (E.D. Mich. 2002) .............................................................4

        Compuware Corp. v. Moody’s Inv'rs. Servs., Inc.,
           499 F.3d 520 (6th Cir. 2007) ................................................................. 3, 4, 5, 6

        Design Res., Inc. v. Leather Indus. of Am.,
            789 F.3d 495 (4th Cir. 2015) ............................................................................13

        Desmond v. News & Observer Publishing Co.,
            375 N.C. 21 (2020).................................................................................. 6, 7, 12

        Hongda Chem USA, LLC v. Shangyu Sunfit Chem. Co., Ltd,
           No. 1:12-CV-1146, 2020 WL 1150214 (M.D.N.C. Mar. 10, 2020) ................24

        Koolvent Aluminum Prod., Inc. v. Azrael, Gann & Franz,
            52 F.3d 321, 1995 WL 227351 (4th Cir. 1995) .................................................8

        Milkovich v. Lorain Journal Co.,
            497 U.S. 1 (1990) .................................................................................... 6, 7, 19

        Mirafuentes v. Estevez,
            No. 1:15-cv-610, 2015 WL 8177935 (E.D. Va. Nov. 30, 2015) .......................3

        NetScout Sys., Inc. v. Gartner, Inc.,
            223 A.3d 37 (Conn. 2020)..................................................................... 3, 4, 5, 6



                                                                iii
USCA4 Appeal: 24-1342            Doc: 28              Filed: 08/08/2024            Pg: 5 of 32




        Netscout Sys., Inc. v. Gartner, Inc.,
            No. FSTCV146022988S, 2015 WL 9897705 (Conn. Super. Ct.
            Dec. 15, 2015) ....................................................................................................4

        Pinehurst, Inc. v. O’Leary Bros. Realty,
            79 N.C. App. 51 (1986) ............................................................................. 23, 24

        Renwick v. News & Observer Pub. Co.,
            63 N.C. App. 200 (1980) ..................................................................................12

        Stanton v. Metro Corp,
             438 F.3d 119 (5th Cir. 2006) ..............................................................................9

        Swengler v. ITT Corp. Electro-Optical Prod. Div.,
            993 F.2d 1063 (4th Cir. 1993)..........................................................................16

        Syngenta Seeds, Inc. v. Bunge N. Am., Inc.,
            773 F.3d 58 (8th Cir. 2014) ................................................................................3

        Talbert v. Mauney,
            80 N.C. App. 477 (1986) ........................................................................... 23, 24

        Walker v. Sloan,
            137 N.C. App. 387 (2000) ................................................................................22

        Statutes

        N.C. Gen. Stat. § 75-1.1 ...........................................................................................21

        Rules

        Fed R. Civ. P. 12(b)(6)............................................................................................... 1

        Other Authorities

        Black’s Law Dictionary (12th ed. 2024) ................................................................. 10

        Cambridge Bus. Eng. Dictionary (1st ed. 2011) ...................................................... 10




                                                                  iv
USCA4 Appeal: 24-1342     Doc: 28         Filed: 08/08/2024    Pg: 6 of 32




                                             ARGUMENT

              Defendant Dun & Bradstreet, Inc. (“D&B”) invites this Court to walk the

        same erroneous path the district court walked by misapplying the Rule 12(b)(6)

        “plausibility” standard to question the truth of the Carroll Companies’ well-pleaded

        factual allegations and to draw material inferences in favor of D&B. This Court

        should decline the invitation.

              The Court also should not accept D&B’s attempt to re-frame the gravamen of

        the Carroll Companies’ Proposed Amended Complaint. This case is not about

        whether D&B’s ratings “scores” themselves are protected opinion. Standing alone,

        they might be; but here, D&B supported its ratings scores with express factual

        assertions and with the implication that additional undisclosed facts support the

        scores. The Carroll Companies plausibly allege that D&B’s express assertions of

        fact are wrong, that the implied facts underlying the scores are false or even

        nonexistent, and that as a result the Credit Reports reflect actionable libel.

              Rather than take these allegations head on, D&B dissembles and distracts.

        With respect to the express assertions of fact, D&B attempts to re-write the Credit

        Reports by contorting their plain language beyond the understanding of a reasonable

        reader. In D&B’s topsy-turvy dictionary, simple words like “pending” and

        “unsatisfied” take on nuanced, lawyer-made meanings created for litigation




                                                   1
USCA4 Appeal: 24-1342     Doc: 28        Filed: 08/08/2024    Pg: 7 of 32




        purposes. But at the pleadings stage, courts are not allowed to re-write or re-define

        the unambiguous words on the page as D&B urges.

              With respect to the implied but undisclosed facts, D&B argues that the Carroll

        Companies do not specifically allege how those facts are false. But D&B never

        explains how the Carroll Companies could possibly allege the falsity of undisclosed

        facts with greater specificity. Moreover, D&B’s argument is a red herring. Under

        well-settled law, where a so-called opinion is supported by false and defamatory

        implied facts, it loses constitutional protection. Here, the Carroll Companies allege,

        in great detail, that D&B’s ratings are entirely false. D&B implies or states in the

        Credit Reports that the Carroll Companies are not creditworthy, do not pay their

        bills, and are at risk of insolvency; the Carroll Companies allege that these facts are

        false and explain the financial strength and viability of the businesses. Under

        Twombly and Iqbal, that is more than enough to state a defamation claim.

              In sum, the Carroll Companies’ Proposed Amended Complaint plausibly

        alleges false assertions of express facts, false assertions of implied facts, and false

        assertions that supporting facts exist, each of which, on its own, is sufficient to

        sustain a defamation claim. And finally, the Proposed Amended Complaint

        sufficiently alleges injury for unfair and deceptive trade practices based on D&B’s

        attempts to coerce the Carroll Companies into purchasing a D&B subscription.




                                                  2
USCA4 Appeal: 24-1342     Doc: 28        Filed: 08/08/2024    Pg: 8 of 32




         I.   D&B addresses a strawman argument by relying on inapposite and
              unpersuasive cases.

               D&B spends the first twelve pages of its argument trying to convince the

        Court that its ratings scores are non-actionable opinion, but it is ultimately arguing

        against a strawman. This case does not turn on whether, for example, D&B’s

        “viability score” for the Carroll Companies should be an 8 or a 1. If it did, the cases

        D&B relies on might be persuasive. But instead, those cases entirely miss the mark.

               Each of D&B’s primary cases concerns a pure opinion, with no allegations

        of false and defamatory supporting facts. See, e.g., Aviation Charter, Inc. v. Aviation

        Rsch. Grp./US, 416 F.3d 864, 870 (8th Cir. 2005) (“comparative rating”), abrogation

        recognized in Syngenta Seeds, Inc. v. Bunge N. Am., Inc., 773 F.3d 58, 64 (8th Cir.

        2014); NetScout Sys., Inc. v. Gartner, Inc., 223 A.3d 37, 52 (Conn. 2020) (“Magic

        Quadrant” grid); Mirafuentes v. Estevez, No. 1:15-cv-610, 2015 WL 8177935, at *3

        (E.D. Va. Nov. 30, 2015) (“10 Most Corrupt Mexicans”). Moreover, several of

        D&B’s cases involve motions for summary judgment, not Rule 12 motions. See, e.g.,

        Aviation Charter, 416 F.3d 864; Netscout, 223 A.3d 37; Compuware Corp. v.

        Moody’s Inv’rs. Servs., Inc., 499 F.3d 520 (6th Cir. 2007).

               In NetScout, the court affirmed summary judgment where the alleged

        defamation focused on where the defendant placed the plaintiff company on its

        “Magic Quadrant” rating matrix. 223 A.3d at 52. Unlike here, the plaintiff in

        Netscout did not challenge the truth of underlying factual assertions (express or

                                                  3
USCA4 Appeal: 24-1342     Doc: 28        Filed: 08/08/2024    Pg: 9 of 32




        implied). Moreover, the court in Netscout was assessing the claim after discovery.

        Id. Tellingly, D&B failed to note that the trial court had denied the defendant’s

        motion to dismiss the complaint, rejecting the exact same arguments offered by

        D&B. See Netscout Sys., Inc. v. Gartner, Inc., No. FSTCV146022988S, 2015 WL

        9897705, at *9 (Conn. Super. Ct. Dec. 15, 2015).

               In Aviation Charter, the court likewise affirmed a summary judgment

        decision. 416 F.3d at 866. The court held that the defendant’s “interpretation of those

        data was ultimately a subjective assessment, not an objectively verifiable fact.” Id.

        at 870. Not only did the court heavily rely on the facts from discovery, it dealt with

        the overarching rating rather than any express or implied facts.

               In Compuware, the court affirmed summary judgment in an appeal focused

        on actual malice. 499 F.3d at 522. As with Netscout, D&B failed to note that the

        defamation claim had survived a motion to dismiss. See Compuware Corp. v.

        Moody’s Inv’rs Servs., Inc., 273 F. Supp. 2d 914, 915 (E.D. Mich. 2002). D&B cites

        the appellate court’s statement that the rating was “‘a predictive opinion, dependent

        on a subjective and discretionary weighing of complex factors,’ that did not convey

        ‘any provably false factual connotation.’” Brief of Defendant-Appellee (“D&B’s

        Br.”) 15. But D&B ignores the court’s qualification of its reasoning introducing the

        same paragraph: “To the extent Compuware alleges that the credit rating itself was

        defamatory, as opposed to the facts or implications in the report . . .” Compuware,



                                                  4
USCA4 Appeal: 24-1342     Doc: 28         Filed: 08/08/2024    Pg: 10 of 32




        499 F.3d at 529 (second emphasis added). Because the language D&B quotes does

        not address stated or implied facts underlying a “credit rating,” it is therefore

        irrelevant to the analysis of such facts, especially at the Rule 12 stage.

               D&B also urges the Court to affirm the lower court’s erroneous interpretation

        of Biospherics, Inc. v. Forbes, Inc. 151 F.3d 180 (4th Cir. 1998). There, a magazine

        advice column with a “breezy” tone, unserious title, and “cute” and “imprecise,

        casual language” was deemed a subjective opinion. Biospherics, 151 F.3d at 184-

        86. Although D&B attempts to deemphasize the importance of the tone of the text

        in Biospherics, this Court made clear that “context” and “general tenor” is material

        to a First Amendment analysis, even distinguishing other cases based on those

        factors. Id. at 184, 186. In contrast to Biospherics, the Credit Reports are paid

        analyses advising businesses on the financial stability of the Carroll Companies, not

        “breezy,” “cute,” or “casual” articles.

               D&B’s own cases also make clear that the underlying rationale for holding

        that many scores and ratings are protected opinion is that they are “inherently and

        irreducibly subjective.” D&B’s Br. 17. The implications of fact alleged here,

        however, make that rationale inapplicable because they are “sufficiently factual to

        be susceptible of being proved true or false.” See Aviation Charter, 416 F.3d at 871.

        Because these implications are not “inherently and irreducibly subjective” and are

        “sufficiently factual to be susceptible of being proved true or false,” they are not



                                                   5
USCA4 Appeal: 24-1342     Doc: 28         Filed: 08/08/2024    Pg: 11 of 32




        protected opinion. See, e.g., Netscout, 223 A.3d at 51 (“Liability for [defamation]

        may attach, however, when a negative characterization of a person is coupled with

        a clear but false implication that the author is privy to facts about the person that are

        unknown to the general reader.”); Compuware, 499 F.3d at 528 (analyzing “a claim

        for defamation when discrete facts . . . are published in such a way that they create

        a substantially false and defamatory impression by omitting material facts or

        juxtaposing facts in a misleading way” (citation omitted)).

               In sum, this Court must reject D&B’s proposed blanket rule that all ratings

        are protected opinion “regardless of the facts underlying them.” D&B’s Br. 17

        (citing NetScout, 223 A.3d at 53). As D&B’s own cases acknowledge, ratings can

        lose their status as protected opinion by implying facts, presenting false facts, or

        having no facts. The Credit Reports do all three. Accordingly, the trial court erred in

        rejecting the Proposed Amended Complaint.

        II.   D&B’s attempts to distinguish Milkovich and Desmond fail.

              D&B’s attempt (D&B’s Br. 18-21) to steer clear of the two cases that control

        the outcome here—Milkovich v. Lorain Journal Co., 497 U.S. 1 (1990), and

        Desmond v. News & Observer Publishing Co., 375 N.C. 21 (2020)—misconstrues

        those cases and mischaracterizes the Carroll Companies’ claims.

              In Milkovich, the Supreme Court held:

                  If a speaker says, “In my opinion John Jones is a liar,” he implies
                  a knowledge of facts which lead to the conclusion that Jones told

                                                   6
USCA4 Appeal: 24-1342     Doc: 28        Filed: 08/08/2024    Pg: 12 of 32




                  an untruth. Even if the speaker states the facts upon which he
                  bases his opinion, if those facts are either incorrect or
                  incomplete, or if his assessment of them is erroneous, the
                  statement may still imply a false assertion of fact. Simply
                  couching such statements in terms of opinion does not dispel
                  these implications; and the statement, “In my opinion Jones is a
                  liar,” can cause as much damage to reputation as the statement,
                  “Jones is a liar.”

        497 U.S. at 18-19 (emphasis added). Here, the Credit Reports state facts regarding

        “pending” lawsuits, an “unsatisfied” judgment, and UCC filings that are “incorrect

        or incomplete.” See, e.g., JA153-157. And D&B’s “assessment of [those facts] is

        erroneous,” so its purported “opinions” also imply a false assertion of fact. As such,

        no matter how D&B frames the question, under Milkovich, D&B’s express and

        implied facts are actionable despite being cloaked in a statement of “opinion.”

              In Desmond, the North Carolina Supreme Court likewise held that implied

        factual assertions can defame the plaintiff on multiple levels. 375 N.C. at 68. There,

        the court held that the defamatory sting in the statement “is not only in the

        attribution, but also in the underlying assertion of fact.” Id. Here, the defamatory

        sting of the Credit Reports is felt not only in the “incorrect or incomplete facts” but

        also in the erroneous assessment of those facts. The ratings scores are propped up by

        expressly stated facts and by implied but undisclosed facts. The Carroll Companies

        plausibly allege that those express and implied facts are false.

              Finally, D&B negates its own attempt to distinguish Milkovich and Desmond

        by conceding that the Credit Reports imply that the Carroll Companies do not pay

                                                  7
USCA4 Appeal: 24-1342     Doc: 28         Filed: 08/08/2024    Pg: 13 of 32




        their vendors on time, lack sufficient resources to stay in business, and are unable to

        pay their debts. D&B’s Br. 20. Thus, by D&B’s own admission, the Proposed

        Amended Complaint alleges the false assertions of fact—both implied and express—

        that D&B claims are lacking.

        III.   D&B’s flawed interpretation of its statements regarding lawsuits, a
               judgment, and UCC filings demonstrates the Proposed Amended
               Complaint’s sufficiency.

               Under Milkovich and Desmond, the material issue is whether the Credit

        Reports’ statements about “pending” lawsuits, an “unsatisfied” judgment, and UCC

        filings are capable of an interpretation that does not produce the same effect as the

        precise truth. If they are, the district court’s ruling must be reversed.

               A. The Credit Reports should be considered from the perspective of a
                  regular reader, not a judge or lawyer.

               In its brief, D&B asks the Court to make the same mistakes the lower court

        made by drawing inferences in D&B’s favor and reading the Credit Reports too

        technically and with the benefit of extra-textual explanation. What the district court

        should have done, and what this Court must do, is consider allegedly defamatory

        statements from the perspective of a layperson who reads the statement, not the

        perspective of a lawyer or judge. See Koolvent Aluminum Prod., Inc. v. Azrael, Gann

        & Franz, 52 F.3d 321, 1995 WL 227351, at *3 (4th Cir. 1995) (unpublished) (“[T]he

        district court erred by reading the letter too technically, i.e., from the perspective of

        a lawyer reading a contract rather than the perspective of a layperson reading a letter

                                                   8
USCA4 Appeal: 24-1342     Doc: 28         Filed: 08/08/2024    Pg: 14 of 32




        sent to his home.”); Celle v. Filipino Reptr. Enters. Inc., 209 F.3d 163, 177 (2d Cir.

        2000) (“[T]he words are to be construed not with the close precision expected from

        lawyers and judges but as they would be read and understood by the public to which

        they are addressed.” (cleaned up)); Stanton v. Metro Corp, 438 F.3d 119, 127 (5th

        Cir. 2006) (holding that “it is not dispositive that a numerical majority of its audience

        would arrive at a non-defamatory interpretation”).

              B. A reasonable reader would understand “pending” to mean currently
                 pending and “unsatisfied” to mean currently unsatisfied.

              D&B does not contest—and cannot contest—that as of the date of publication

        of the Credit Reports, the lawsuits it described as “pending” were not in fact pending,

        the judgment it described as “unsatisfied” was in fact satisfied, and the UCC filings

        it attributes to CIP in fact have no connection to CIP. Those are each provably false

        statements of fact (not opinion) that were sufficient for the Proposed Amended

        Complaint to survive.

              To avoid that conclusion, D&B makes the unpersuasive argument that these

        statements are substantially true (or only immaterially false) by relying on

        unreasonable definitions of simple words and by blue-penciling the text of the Credit

        Reports to say things they don’t actually say. In its brief, D&B provides this Court

        with the same extra-textual, lawyer-written narration of the Credit Reports it gave to

        the trial court, the end result of which is to twist the meaning of the word “pending”

        beyond recognition. D&B’s Br. 26.

                                                   9
USCA4 Appeal: 24-1342     Doc: 28       Filed: 08/08/2024    Pg: 15 of 32




              One example of the relevant text is below:

                  Suit –
                   Filing Date                 09-18-2019
                   Filing Number               19 CVS 8625
                   Status                      Pending
                   Date Status Attained        09-18-2019
                   Received Date               10-09-2019

        JA195.

              Under D&B’s contorted explanation of this text, readers should apparently

        know (though it is not stated) that the reported “Status” of the lawsuit (i.e.,

        “Pending”) is as of the “Received Date” and not as of the date of publication.

        Moreover, according to D&B, readers should apparently know that the “Received

        Date” is the last date D&B received any information about the “pending” lawsuit.

        But no reasonable reader—having been sold on D&B’s products by its promise of

        continuously updated data—would share this understanding. A more reasonable

        interpretation of the text is that on October 9, 2019, D&B received information about

        a lawsuit that was filed on September 18, 2019, and that the lawsuit is currently

        “pending.” This interpretation is supported by both legal and non-legal dictionaries.

        See Pending, Cambridge Bus. Eng. Dictionary (1st ed. 2011) (“[W]aiting to be

        decided or approved”); Pending, Black’s Law Dictionary (12th ed. 2024)

        (“Remaining undecided; awaiting decision”).

              With respect to the purportedly “unsatisfied” judgment against CIP, the

        relevant text is below:

                                                 10
USCA4 Appeal: 24-1342     Doc: 28        Filed: 08/08/2024     Pg: 16 of 32




                  Judgement [sic] – Court Judgement [sic]
                   Filing Date               01-28-2015
                   Filing Number             15CVM5108
                   Status                    Unsatisfied
                   Date Status Attained      01-28-2015
                   Received Date             02-11-2015

        JA209.

              Any reasonable reader would understand the text to mean that on February 11,

        2015, D&B received information about a judgment that was filed on January 28,

        2015, and remains unsatisfied. Not—as D&B claims—that the judgment could have

        been satisfied at any time since February 11, 2015, because D&B has not attempted

        to update its information in the many years since.

              Whether D&B’s interpretation of these texts or the Carroll Companies’

        interpretation of these texts is more reasonable is a question for the jury. Bell v.

        Simmons, 247 N.C. 488, 495 (1958) (“It is noted: ‘(1) The court determines whether

        a communication is capable of a defamatory meaning. (2) The jury determines

        whether a communication, capable of a defamatory meaning, was so understood by

        its recipient.”’ (quoting Restatement (First) of Torts § 614)). At this stage what

        matters is that the Carrol Companies allege a plausible interpretation that is false and

        defamatory. The fact that D&B needed ten pages of contract-like legal analysis to

        explain its intended meaning of “pending” and “unsatisfied” illustrates the Credit

        Reports’ ambiguity and the Proposed Amended Complaint’s viability. D&B’s Br.

        24-33.

                                                  11
USCA4 Appeal: 24-1342    Doc: 28        Filed: 08/08/2024    Pg: 17 of 32




              D&B’s vague disclaimer does not change this analysis. Several pages after the

        lawsuits are first summarized in the Credit Reports, and mixed in with other

        intellectual property legalese, D&B says the following:

                 The public record items contained in this report may have been
                 paid, terminated, vacated or released prior to the date this report
                 was printed. This information may not be reproduced in whole
                 or in part by any means of reproduction.

        E.g., JA197.

              From this, D&B divines an exculpatory disclaimer, but in reality the text is so

        vague that it is meaningless. The words “lawsuit” or “judgment” are not included,

        and the explanation that D&B provides in its brief—that the “Received Date” means

        the last date D&B received any information about any “pending” lawsuit or

        “unsatisfied” judgment—is likewise nowhere in the text.

              D&B also suggests that the statement that the information in the Credit

        Reports may have changed “prior to the date this report was printed” in fact is

        sufficient to convey that the “information provided might have been superseded by

        events occurring after the ‘Received Date.’” D&B’s Br. 27 (emphasis added). This

        argument is yet another example of D&B asking the court to infer language that

        appears nowhere in the Credit Reports themselves. But in any event, as explained in

        the Carroll Companies’ opening brief, whether this disclaimer is sufficient to make

        the Credit Reports “substantially true” is a jury question. Desmond, 375 N.C. at 69;




                                                 12
USCA4 Appeal: 24-1342     Doc: 28         Filed: 08/08/2024    Pg: 18 of 32




        Renwick v. News & Observer Pub. Co., 63 N.C. App. 200, 210–11 (1980), rev’d on

        other grounds, 310 N.C. 312 (1984).

              As one of D&B’s own cases suggests, this Court should decline D&B’s

        invitation to “follow [its] winding inquiry far outside the face of the [Credit Report]”

        and should not “be willing to accept that the [report] means the opposite of what it

        says.” Design Res., Inc. v. Leather Indus. of Am., 789 F.3d 495, 502 (4th Cir. 2015).

        The Proposed Amended Complaint plausibly alleges that the Credit Reports’

        statements about lawsuits and judgments are capable of being understood as false,

        which is enough—on its own—to mandate reversal of the trial court’s order.

              C. D&B’s false statements are material.

              D&B also makes the meritless argument that, even if the Credit Reports’

        statements about pending lawsuits and unsatisfied judgments are false, they are not

        materially false. D&B’s Br. 29-30. According to D&B, it would make no meaningful

        difference to a reader of the Credit Reports—who has purchased the reports to learn

        about the credit-worthiness and financial strength of the Carroll Companies—

        whether the company has eight pending lawsuits and one unsatisfied judgment or no

        pending lawsuits and no unsatisfied judgments. D&B cites no authority for this

        argument because there is none.

              Any person who has ever applied for credit (and any lender) would agree that

        there is a material difference between judgments that are currently unsatisfied and



                                                  13
USCA4 Appeal: 24-1342     Doc: 28        Filed: 08/08/2024   Pg: 19 of 32




        those that were satisfied long ago, and a material difference between pending

        lawsuits and those that were resolved long ago. In reality, there is no dispute that

        accurate information about pending lawsuits and unsatisfied judgments is material

        to D&B readers; D&B says so itself in its marketing materials (JA142-143) and then

        again in its brief (D&B’s Br. 22-23) (noting that the Legal Events “form part of

        D&B’s analysis”).

              If D&B now contends that its factual errors are not material to its readers, it

        should have to make that argument to the jury, not to the court at the pleading stage.

        IV.   The Carroll Companies plausibly allege false implied assertions of fact.

              In addition to their express false statements of fact, the Credit Reports imply

        that they are supported by undisclosed facts, which the Carroll Companies plausibly

        allege are false and defamatory. For example, the Carroll Companies allege:

                        59.      As of June 2022, each Plaintiff’s business credit
                 report falsely portrays the Plaintiff as a poor credit risk due to
                 poor payment history, outstanding judgments or UCC liens, and
                 other vaguely referenced circumstances purported to be known
                 to D&B but not specified in the business credit report. Upon
                 information and belief, D&B’s statements regarding each
                 Plaintiff’s stability and credit-worthiness are completely
                 arbitrary and are untethered to any actual or purported factual
                 information.

                        60.       The payment experiences set forth in each
                 Plaintiff’s D&B business credit report represent only a small
                 fraction of each Plaintiff’s commercial and transactional
                 activities. Upon information and belief, D&B knows and intends
                 that purported payment experiences listed in a given Plaintiff’s



                                                 14
USCA4 Appeal: 24-1342     Doc: 28         Filed: 08/08/2024    Pg: 20 of 32




                  business credit report grossly understate and misrepresent that
                  Plaintiff’s commercial activities and payment history.

                         61.      As set forth in detail below, D&B’s business
                  credit reports arbitrarily and falsely portray each Plaintiff as
                  financially unstable and likely to default on its obligations to
                  lenders and business partners. In fact, exactly the opposite is true.
                  Each and every Plaintiff is an established company with solid
                  financials and a strong credit history that promptly satisfies its
                  contractual obligations.

        JA151-152.

              The allegations are straightforward and compelling. Based on both express

        and implied facts, D&B has reported that the Carroll Companies do not pay their

        vendors on time, lack sufficient resources to stay in business, and are unable to pay

        their debts. Those facts are provably false, as the Carroll Companies allege. JA152

        (“Each and every Plaintiff is an established company with solid financials and a

        strong credit history that promptly satisfies its contractual obligations.”).

              D&B brushes these allegations aside, calling them “conclusory” and asserting

        that under Twombley and Iqbal more is required. This argument is unavailing.

              A. The Proposed Amended Complaint plausibly alleges implied facts,
                 which makes the Credit Reports actionable “mixed opinions.”

              The Carroll Companies allege, and D&B concedes, that the Credit Reports

        imply that the Carroll Companies “do not pay their vendors (or pay them on time),

        that they lack sufficient credit or resources to continue in their business, and that

        they are unable to pay their debts.” D&B’s Br. 20; see JA151-152; see also Brief of



                                                   15
USCA4 Appeal: 24-1342     Doc: 28        Filed: 08/08/2024   Pg: 21 of 32




        Plaintiffs-Appellants 34 (“low proportion of satisfactory payment experiences to

        total payment experiences,” “evidence of negative trade,” “proportion of slow

        payment experiences to total number of payment experiences reported,” and

        “payment information indicates negative payment comments.” (citing JA190)).

              These implications are discussed and highlighted throughout the Credit

        Reports, as the Proposed Amended Complaint alleges. E.g., JA152 (“VERY HIGH

        POTENTIAL FOR SEVERELY DELINQUENT PAYMENTS.”); JA155 (“Some

        of the payment experiences state that CIP ‘Pays Slow.’”); JA160 (“[T]he Carroll

        Investment Report identifies “‘low proportion of satisfactory payment experiences’

        as a negative factor in determining Carroll Investment’s ‘Failure Score,’ falsely

        portraying Carroll Investment as having a ‘moderate-high’ risk of failure in the next

        12 months.”); JA161 (“Further, the Carroll Industrial Report gives a ‘Maximum

        Credit Recommendation’ of only $5,000, purportedly ‘based on a moderate

        probability of severe delinquency.’”).

              Thus, there is no dispute that the ratings in the Credit Reports are based on

        implied but undisclosed facts. This makes them actionable. See, e.g., Swengler v.

        ITT Corp. Electro-Optical Prod. Div., 993 F.2d 1063, 1071 (4th Cir. 1993)

        (“Statements clearly implying the existence of facts are actionable as defamation.”).1


        1
         D&B attempts to distinguish Swengler by claiming that the defendant in that case
        made factual allegations. But D&B ignores that the Swengler court explicitly


                                                 16
USCA4 Appeal: 24-1342     Doc: 28        Filed: 08/08/2024     Pg: 22 of 32




              B. The Proposed Amended Complaint plausibly alleges the falsity of
                 these implied facts.

              Although D&B concedes that the Credit Reports imply facts, it contends that

        the Proposed Amended Complaint does not plausibly allege that the implied facts

        are false because “Plaintiffs did not plead any facts about their credit histories or

        financials, nor did they plead that they always satisfy their contractual obligations in

        a timely manner, or even that they have done so a certain percentage of the time over

        a particular period of time.” D&B’s Br. 21 (emphasis in original).

              D&B’s argument that the Carroll Companies cannot prove the falsity of these

        statements and implications is both wrong and irrelevant, as the Carroll Companies’

        burden at this stage is pleading, not proving. D&B argues that to satisfy Twombley

        and Iqbal, the Carroll Companies must allege detailed (confidential) information

        about the finances of their entire businesses (given the breadth of the implied

        assertions). In so doing, D&B seeks to unfairly benefit from its refusal to share any

        of the underlying information. For example, the Carroll Companies have no idea—

        because D&B refuses to disclose—what vendors (if any) reported on their trade

        payment experiences with the Carroll Companies. As such, the Carroll Companies

        cannot allege that a specific trade payment entry is false. D&B’s suggestion that the



        discussed the statements at issue (including that the plaintiff “posed a serious
        security risk” and was “defrauding the government”) as “mixed opinions” and not
        as simple factual assertions. Swengler, 993 F.2d at 1071.

                                                  17
USCA4 Appeal: 24-1342      Doc: 28        Filed: 08/08/2024     Pg: 23 of 32




        Carroll Companies must instead disclose details of every payment they have ever

        made to dispute the truth of D&B’s statements has no legal basis.

              That supposed trade payment information informs the implication that the

        Carroll Companies are a poor credit risk facing imminent default, and the Carroll

        Companies specifically and sufficiently allege that the information is false. The

        Proposed Amended Complaint states that “[e]ach and every Plaintiff is an

        established company with solid financials and a strong credit history that promptly

        satisfies its contractual obligations.” JA152. And to the extent the Credit Reports

        include purported factual support, the Carroll Companies plausibly allege its falsity.

        The Carroll Companies allege the Credit Reports’ financial and legal information is

        false and/or does not support the implications by specifically refuting each

        component of the Legal Events sections. JA154-165. If discovery bears out these

        allegations (as it will), the Credit Reports’ implications regarding paying vendors,

        lacking credit or resources, and potential insolvency are necessarily false.

              In other words, the Proposed Amended Complaint pleads falsity generally

        (stating each company “is an established company with solid financials and a strong

        credit history” (JA152)), and specifically (refuting most of the stated supporting

        facts (JA154-165)). Without knowing the rest of the Credit Reports’ supposed

        underlying data, the Carroll Companies cannot possibly refute it to any further

        degree of detail, nor are they required to at this stage of litigation.



                                                   18
USCA4 Appeal: 24-1342     Doc: 28        Filed: 08/08/2024     Pg: 24 of 32




              C. D&B’s false statements and implications about UCC filings are
                 actionable “mixed opinions.”

              D&B’s discussion of purported UCC filings in the “Legal Events” section of

        the CIP Credit Report (JA196-197) highlights how the Credit Reports are actionable

        “mixed opinions.” The district court correctly noted that these UCC entries list the

        debtor as Ascot Point Village Apartments, LLC, not CIP. But the district court erred

        when it held that these statements were not actionable because the Carroll

        Companies only “challenge[] Dun & Bradstreet’s evaluation process in forming its

        opinions that these liens are linked to a plaintiff.” JA339.

              By connecting the UCC filings for a wholly separate entity to the Credit

        Report for CIP, D&B implies that it has undisclosed factual information that makes

        such a connection accurate. In the Proposed Amended Complaint, the Carroll

        Companies describe this implication and specifically allege that it is false because,

        among other things, “Ascot is a separate and distinct entity from CIP.” JA154-155.

        Under Milkovich, these allegations state an actionable claim for libel because the

        Carroll Companies allege that D&B’s connection of the Ascot Point UCC filings to

        CIP is “incorrect or incomplete” and D&B’s “assessment of [that connection] is

        erroneous.” Milkovich, 497 U.S. at 18-19.

              D&B’s argument that “the choice of ‘which underlying data to prioritize’ in

        reaching its opinion is D&B’s to make” (D&B’s Br. 33 (citing Aviation Charter, 416

        F.3d at 871)) ignores the allegations that the underlying data is false. Aviation

                                                  19
USCA4 Appeal: 24-1342     Doc: 28         Filed: 08/08/2024    Pg: 25 of 32




        Charter does not suggest that D&B is immunized against prioritizing false data in

        making its “assessment.” In fact, the cited portion of Aviation Charter did not even

        consider the truth of the underlying data. Additionally, the court in Aviation Charter

        heavily relied on facts from discovery and dealt with the rating itself rather than any

        express or implied facts. See Aviation Charter, 416 F.3d at 871.

              Contrary to D&B’s argument, reliance on its “evaluation process” is not a get-

        out-of-jail-free card. Where, as here, D&B indicates it has undisclosed factual

        information supporting its evaluation, that evaluation is an actionable mixed opinion.

         V.   The Carroll Companies plausibly allege that D&B misrepresents the
              existence of supporting facts.

              D&B labels as “wholly conclusory” the Carroll Companies’ allegations that

        the Credit Reports are arbitrary and untethered to any actual factual data, and it

        asserts that the Carroll Companies’ allegation that D&B “made up its scores and

        ratings out of whole cloth” is not plausible. D&B’s Br. 22-23. But D&B’s argument

        founders on its own admissions.

              Both in the district court and in its opening brief, D&B pointed to the fact that

        the Credit Reports, in their very last line (in light gray text), say that “D&B currently

        has no financial information on file for this company.” E.g., JA199. That statement

        is consistent with the allegations of the Proposed Amended Complaint, which state

        that the Carroll Companies refused D&B’s request to disclose confidential financial

        information. JA167-169; JA151. It is therefore not only “plausible,” it is entirely

                                                   20
USCA4 Appeal: 24-1342     Doc: 28        Filed: 08/08/2024     Pg: 26 of 32




        likely that D&B’s ratings are not connected to any factual financial data but instead

        are supported by false and outdated non-financial information.

              D&B cannot have its cake and eat it too. It cannot on one hand point to the

        disclosure that it has no financial information for the Carroll Companies as

        exculpatory, while on the other hand asserting that the allegation that its ratings are

        made up out of whole cloth is “conclusory” and implausible.

        VI.   The Proposed Amended Complaint sufficiently alleges injury for unfair
              and deceptive trade practices.

              D&B does not dispute that the Fifth Claim for Relief—a claim for unfair and

        deceptive trade practices under N.C. Gen. Stat. § 75-1.1 et seq. based on

        defamation—cannot be dismissed if any defamation claim survives. And with

        respect to the Sixth Claim for Relief, D&B does not dispute that its use of false credit

        reports “as leverage to induce companies to pay for D&B’s subscription services in

        hopes of improving their scores and ratings” (JA180) is unfair and deceptive—

        unsurprisingly so, given that the Federal Trade Commission has already found those

        exact practices to be unfair and deceptive (JA168, JA269-285). Instead, D&B

        premises its arguments solely on the contention that the Carroll Companies failed to

        sufficiently allege that they were injured by D&B’s unfair and deceptive actions.

        Those arguments, however, are inconsistent with the low threshold required to plead

        this element of a UDTPA claim—namely, allegations that “that the act of deception




                                                  21
USCA4 Appeal: 24-1342       Doc: 28         Filed: 08/08/2024   Pg: 27 of 32




        proximately resulted in some adverse impact or actual injury to the plaintiffs.”

        Walker v. Sloan, 137 N.C. App. 387, 399 (2000) (emphasis added).

               First, D&B argues that the Carroll Companies’ allegations that they “invested

        substantial time and money” into attempting to remedy the harm from D&B’s

        actions—not just in bringing this lawsuit, but also in their pre-suit efforts to address

        and attempt to stop D&B’s actions—are insufficient to establish the “injury” element

        because they are “another measure of reputational damages.” D&B’s Br. 45. D&B

        does not cite any case law, however, for the proposition that these are only

        “reputational damages.” Even more tellingly, D&B does not explain why, even if

        these are arguably “reputational damages,” they would not be potentially

        recoverable under the Sixth Claim for Relief; after all, the first aspect of D&B’s

        unfair and deceptive scheme to leverage business for itself is to publish false or

        misleading credit reports that can “make or break” small businesses (such that those

        businesses are then pressured to spend “substantial time and money” to remedy the

        harm). Accord JA145 (“A poor Failure Score could make it difficult for your

        business to access capital or result in less generous loan terms. You could also

        potentially miss out on lucrative contracts due to concerns about your business’s

        ability to fulfill its financial obligations.”).

               Second, D&B unsuccessfully attempts to elide the fact that the North Carolina

        Court of Appeals explicitly recognized “disruption of . . . business” and legal fees



                                                     22
USCA4 Appeal: 24-1342     Doc: 28        Filed: 08/08/2024     Pg: 28 of 32




        expended to remedy the effect of deceptive communications as cognizable injuries

        in Pinehurst, Inc. v. O’Leary Brothers Realty, 79 N.C. App. 51 (1986). D&B seeks

        to distinguish the holding in Pinehurst by arguing that the time and expense incurred

        by the plaintiff in that case “resulted from legal claims and complaints asserted

        against the plaintiff.” D&B’s Br. 36. Tellingly, D&B does not explain why that is

        the only situation in which business disruption resulting from deceptive

        communications would qualify as an “injury” for purposes of a UDTPA claim, and

        no such distinction can be found in the text of the decision itself.

              In Pinehurst, the plaintiff’s business disruption injuries flowed from its efforts

        to remedy the effect of defendants’ dissemination of a letter that the court found to

        be “unfair, deceptive, and maliciously published” even though it contained “no false

        statements” (and therefore was not defamatory). 79 N.C. App. at 56. In fact, the court

        in Pinehurst confirmed that “[p]roof of actual deception is not necessary; it is enough

        that the statements had the capacity to deceive.” Id. at 59. This further undermines

        D&B’s implication that the damages it characterizes as “reputational” can only be

        recovered on a claim premised on defamation.

              D&B also questions the Carroll Companies’ reliance on both Pinehurst and

        Talbert v. Mauney, 80 N.C. App. 477 (1986), on the grounds that the portions quoted

        by the Carroll Companies come from discussions of UDTPA elements other than

        “injury.” D&B’s Br. 36-37. But D&B cannot dispute that both decisions recognized



                                                  23
USCA4 Appeal: 24-1342     Doc: 28        Filed: 08/08/2024    Pg: 29 of 32




        injuries like the ones asserted by the Carroll Companies—the effects of “disruption

        of their business” in Pinehurst (79 N.C. App. at 64) and “wrongful and intentional

        harm to [plaintiffs’] credit rating and business prospects” in Talbert (80 N.C. App.

        at 481)—as sufficient to support a UDTPA claim.

              Third, in arguing that “nominal damages” are insufficient to support a

        UDTPA claim, D&B again ignores that Pinehurst held just the opposite. D&B

        confoundingly claims that the award of $1 in nominal damages in Pinehurst is

        insignificant because the court in Pinehurst found that “defendants’ wrongful

        conduct caused a disruption of [plaintiffs’] business, loss of administrative time, and

        injury to their business reputation.” D&B’s Br. 39 (quoting Pinehurst, 79 N.C. App.

        at 64). But these, of course, are the same injuries the Carroll Companies allege in

        this case—and more importantly, the same injuries that the court in Pinehurst found

        resulted in only nominal damages. That is why the district court in this case

        recognized Pinehurst as holding that nominal damages are sufficient to sustain a

        UDTPA claim. JA342.

              D&B’s attempt to distinguish the award of nominal damages on a UDTPA

        claim in Hongda Chem USA, LLC v. Shangyu Sunfit Chem. Co., Ltd, No. 1:12-CV-

        1146, 2020 WL 1150214 (M.D.N.C. Mar. 10, 2020), is similarly flawed. D&B

        assigns great significance to the fact that the court in Hongda awarded monetary

        damages on other claims, but that does not change the fact that the district court



                                                  24
USCA4 Appeal: 24-1342     Doc: 28       Filed: 08/08/2024    Pg: 30 of 32




        awarded nominal damages on a UDTPA claim against one defendant, rather than

        finding that the claim simply failed. In other words, if D&B was right that nominal

        damages cannot support a UDTPA claim, there would have been no judgment for

        nominal damages on the claim at all. Instead, as illustrated by Pinehurst and Hongda,

        D&B’s argument is simply wrong, and this Court should hold that the allegations of

        the Proposed Amended Complaint were sufficient for the Carroll Companies’ Sixth

        Claim for Relief to survive the pleadings stage.

                                           CONCLUSION

              The district court’s order denying Plaintiffs’ motion to alter or amend the

        judgment to allow leave to file an amended complaint should be reversed. In the

        alternative, the district court’s order granting Defendants’ motion to dismiss with

        prejudice should be reversed.




                                                 25
USCA4 Appeal: 24-1342    Doc: 28       Filed: 08/08/2024   Pg: 31 of 32




              Respectfully submitted this 7th day of August, 2024.

                                             BROOKS, PIERCE, MCLENDON,
                                             HUMPHREY & LEONARD, L.L.P.

                                             By: /s/ Eric M. David
                                             Eric M. David
                                             N.C. State Bar No. 38118
                                             edavid@brookspierce.com
                                             Andrew L. Rodenbough
                                             N.C. State Bar No. 46364
                                             arodenbough@brookspierce.com
                                             Pearson G. Cost
                                             N.C. State Bar No. 60828
                                             pcost@brookspierce.com
                                             Post Office Box 1800
                                             Raleigh, North Carolina 27602
                                             Telephone: 919-839-0300
                                             Attorneys for Plaintiffs-Appellants




                                               26
USCA4 Appeal: 24-1342    Doc: 28        Filed: 08/08/2024   Pg: 32 of 32




                   CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMIT

           1. This brief complies with type-volume limits because, excluding the parts of
              the document exempted by Fed. R. App 32(f) (cover page, disclosure
              statement, table of contents, table of citations, statement regarding oral
              argument, signature block, certificates of counsel, addendum, attachments):

              [X] this brief contains 5,922 words.

           2. This brief complies with the typeface and type style requirements because:

              [ X ] this brief has been prepared in a proportionally spaced typeface using
              Microsoft Word 365 in 14 pt. Times New Roman.

              Dated: August 7, 2024                  /s/ Eric M. David
                                                     Attorney for Plaintiffs-Appellants




                                                27
